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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                      )
In re:                                )
                                      )                       Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,    )
                                      )                       Case No. 19-34054 (SGJ)
            Reorganized Debtor.       )
                                      )
                                      )
                                      )
HIGHLAND CAPITAL MANAGEMENT, L.P.,    )
                                      )
                 Plaintiff,           )
                                      )                       Adv. Proc. No: 21-03003 (SGJ)
vs.                                   )
                                      )                       Case No: 3:21-cv-01010-E
JAMES DONDERO, NANCY DONDERO, AND THE )
DUGABOY INVESTMENT TRUST,             )
                                      )
                Defendants,           )
                                      )

                               CERTIFICATE OF SERVICE

       I, Jonathan J. Thomson, depose and say that I am employed by Kurtzman Carson
Consultants LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the
bankruptcy case of Highland Capital Management, L.P., Case No. 19-34054-sgj11 (Bankr. N.D.
Tex).

        On December 7, 2021, at my direction and under my supervision, employees of KCC
caused the following documents to be served via Electronic Mail upon the service list attached
hereto as Exhibit A:

   •   Highland Capital Management, L.P.'s Motion to Consolidate Notes Actions [Docket
       No. 10]

   •   Highland Capital Management, L.P.'s Memorandum of Law in Support of Motion
       to Consolidate Notes Actions [Docket No. 11]



                                   (Continued on Next Page)
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   •   Appendix in Support of Highland Capital Management, L.P.'s Memorandum of
       Law in Support of Motion to Consolidate Notes Actions [Docket No. 12]

Dated: December 10, 2021


                                        /s/ Jonathan J. Thomson
                                        Jonathan J. Thomson
                                        KCC
                                        222 N Pacific Coast Highway, Suite 300
                                        El Segundo, CA 90245




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                          EXHIBIT A
            Case 3:21-cv-01010-E Document 18 Exhibit
                                                 FiledA 12/13/21
                                       Civil Action Service List
                                                                                           Page 4 of 4 PageID 3992
                                                         Served via Electronic Mail


            Description                    CreditorName                  CreditorNoticeName                          Email
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